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                                                                                       UNITED STATES DISTRICT COURT
                                                      13
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                                                                                               DISTRICT OF NEVADA
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                                                      15    LATESHA WATSON,

                                                      16                          Plaintiff                       Case No.: 2:20-cv-01761-APG-BNW

                                                      17           v.                                        Stipulation and Order for Extension of Time
                                                                                                                to File Replies in Support of Motions to
                                                      18    CITY OF HENDERSON et al.,                                            Dismiss

                                                      19                          Defendants                               [ECF Nos. 104, 110]

                                                      20                                                                    (Second Request)

                                                      21

                                                      22          Plaintiff LaTesha Watson and Defendants City of Henderson, Richard Derrick, Bristol

                                                      23   Ellington, Nicholas Vaskov, and Kristina Escamilla Gilmore (collectively the “City Defendants”),

                                                      24   by and through their respective counsel of record, and for good cause shown, hereby stipulate to

                                                      25   extend the deadline for the City Defendants to file replies in support of their anti-SLAPP motion

                                                      26   to dismiss [ECF No. 104] to March 15, 2022, and their Fed. R. Civ. P. 12(b)(6) motion to dismiss

                                                      27   [ECF No. 110] to March 25, 2022:

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                                                       1            1.    On January 3, 2022, Vaskov and Escamilla Gilmore moved to dismiss Watson’s

                                                       2   IIED claim under Nevada’s anti-SLAPP statute. 1

                                                       3            2.    The City Defendants also moved to dismiss Watson’s Amended Complaint under

                                                       4   Federal Rule of Civil Procedure 12(b)(6) on January 14, 2022. 2

                                                       5            3.    This Court extended the briefing deadlines for both motions on January 28, 2022. 3

                                                       6            4.    Pursuant to that order, Watson filed her response to the anti-SLAPP motion on

                                                       7   February 8, 2022. Watson filed her response to the City Defendants’ 12(b)(6) motion on

                                                       8   February 18, 2022.

                                                       9            5.    This is thus the second stipulation to extend the briefing deadlines for these

                                                      10   motions.

                                                      11            6.    In her response to the anti-SLAPP motion, Watson moves for limited discovery,

                                                      12   and sought to exceed the page limits for her response to the 12(b)(6) motion.
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                                                      13            7.    Vaskov and Escamilla Gilmore’s reply in support of their special anti-SLAPP
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                                                      14   motion is currently due on March 8, 2022.
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                                                      15            8.    The City Defendants’ reply in support of their 12(b)(6) motion is currently due on

                                                      16   March 18, 2022.

                                                      17            9.    Given the additional positions taken by Watson in her response briefs, and given

                                                      18   defense counsel’s recent travel and deposition schedule, additional time is needed to prepare

                                                      19   replies in support of both motions.

                                                      20            10.   The parties have agreed to the extensions requested.

                                                      21            11.   This extension request is sought in good faith and is not made for the purpose of

                                                      22   delay.

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                                                           1
                                                               ECF No. 104.
                                                      27   2
                                                               ECF No. 110.
                                                      28   3
                                                               ECF No. 115.

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                                                       1           Therefore, the parties respectfully request an extension for Defendants Vaskov and

                                                       2   Escamilla Gilmore to file a reply in support of their anti-SLAPP motion up through and including

                                                       3   March 15, 2022, and for the City Defendants to file a reply in support of their 12(b)(6) motion to

                                                       4   dismiss up through and including March 25, 2022.

                                                       5

                                                       6   DATED this 7th day of March 2022.                 DATED this 7th day of March 2022.
                                                       7   SNELL & WILMER L.L.P.                             COOK & KELESIS, LTD.
                                                       8    /s/ Richard C. Gordon                             /s/ Julie L. Sanpei
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                                                           Vaskov, and Kristina Escamilla Gilmore
                               L.L.P.




                                                      15

                                                      16                                                  IT IS SO ORDERED.
                                                      17                                                  DATED: March 8, 2022.
                                                      18

                                                      19                                                  _______________________________________
                                                                                                          UNITED STATES DISTRICT COURT JUDGE
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